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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 ___________________________________
                                     )  CIVIL ACTION
 Keishanna George.                   )
                                     ) Docket No.      2:24-cv-02854
                      Plaintiff,     )
        v.                           ) District Judge:
                                     ) JANE TRICHE MILAZZO
 Housing Authority of New Orleans,   )
                                     ) Magistrate Judge:
                      Defendant.     ) DONNA PHILLIPS CURRAULT
 ___________________________________

    MEMORANDUM IN SUPPORT OF OPPOSED MOTION TO STAY
BRIEFING ON 12(b)(6) MOTION UNTIL JURISDICTION IS DETERMINED

                                       Posture

    As set out in Plaintiff’s motion, the state court petition in this removed case

cites no federal law. See ECF 1-2. Another Section of this Court has recently

remanded a case with overlapping issues, for lack of a substantial federal question,

relying on the U.S. Supreme Court and Fifth Circuit’s standard for assessing

jurisdiction where the Complaint does not directly raise a federal question. See

Current v. Hous. Auth. of New Orleans, No. 24-1883, 2024 WL 5041175 (E.D. La.

Dec. 9, 2024).

    A motion to remand this case for lack of jurisdiction is pending, and has not yet

been briefed by the Defendant or addressed by the Court. ECF 7. Before addressing

that motion Defendant obtained an extension of its Submission date, and filed this

motion to dismiss. ECFs 11 through 13.

    The Court lacks authority to rule on the motion to dismiss until its
                    jurisdiction has been determined.



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    If the Court lacks jurisdiction, as set out in the pending remand motion and

found by the Court in Current v. Hous. Auth. of New Orleans, No. 24-1883, 2024 WL

5041175 (E.D. La. Dec. 9, 2024), then the Court is powerless to take any other

action in this case.

      This Section recently vacated a final judgment it had entered and remanded

the case to state court for lack of jurisdiction in response to post-judgment motion.

The final judgment had to be vacated because “[w]ithout jurisdiction the court

cannot proceed at all in any cause. Jurisdiction is power to declare the law, and

when it ceases to exist, the only function remaining to the court is that of

announcing the fact and dismissing the cause.” Richard's Clearview LLC v. Starr

Surplus Lines Ins. Co., No. CV 22-2326, 2023 WL 1778943, at *2 (E.D. La. Feb. 6,

2023) (Milazzo, J.) (quoting Steel Co. v. Citizens for a Better Environment, 523 U.S.

83, 94 (1998) and Ex parte McCardle, 74 U.S. 506, 514 (1868))., aff'd, No. 23-30130,

2023 WL 6820671 (5th Cir. Oct. 17, 2023).

    Because all other proceedings are improper in the absence of jurisdiction, courts

are to examine their jurisdiction before any other issue. “[R]esolving a merits issue

while jurisdiction is in doubt ‘carries the court beyond the bounds of authorized

judicial action’ . . . and violates the principle that ‘the first and fundamental

question is that of jurisdiction.’ ” In re Minister Papandreou, 139 F.3d 247, 253 (D.C.

Cir. 1998) (quoting Steel Co. 523 U.S. at 94, and Mansfield, Coldwater & Lake

Michigan Railway Co. v. Swan, 111 U.S. 379, 382 (1884)) (overruled by statute on

other grounds).



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    The previously quoted Supreme Court Steel Co. case emphatically rejected the

practices of multiple Circuits that had allowed review of other grounds to dismiss

before jurisdiction. The Court characterized the requirement to address jurisdiction

first as “inflexible and without exception.” Steel Co. v. Citizens for a Better Env't,

523 U.S. 83, 95 (1998) (quoting Mansfield, C. & L.M.R. Co. v. Swan, 111 U.S. 379,

382 (1884)).

    Most issues in the Motion to Dismiss will be irrelevant if this case is
                         remanded to state court.

    Only the final five paragraphs of Defendant’s 15-page memorandum would be

relevant to state court proceedings, since the Gonzaga and third party contract

theories covered in the rest of its Memorandum were not pled and are not necessary

for state court jurisdiction.

    Though not cited in Defendant’s Memorandum, the state court issue raised in

the final five paragraphs was recently decided in favor of allowing state court

judicial review of HANO Section 8 termination decisions, in D'Aquin v. Hous. Auth.

of New Orleans, 2024-0584 (La. App. 4 Cir. 11/13/24), __ So.3d ___, 2024 WL

4763217. HANO has filed for state Supreme Court review of that decision. So even

briefing that issue is ill-timed until it is known whether the Supreme Court will

assert jurisdiction.

    While HANO suggests in that argument that the issues are really issues of

federal law, it cites no authority for the proposition. The argument is simply

another way of trying to create federal jurisdiction because while plaintiff raises no

federal quesiton, federal law must be determined in order to settle the dispute. But

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this is the very basis for jurisdiction examined and found lacking by this Court in

Current v. Hous. Auth. of New Orleans.

    Until it is determined whether the Court has jurisdiction, it would serve no

purpose to brief federal issues that would not be relevant in state court, nor state

court issues that may soon be firmly settled by the Louisiana Supreme Court.

    Just as Twombly and Iqbal protect defendants from addressing discovery in

implausible cases, the promptly filed remand motion should protect the Plaintiff

from having to address issues that may prove unnecessary, especially when the

issues are fundamental and go to jurisdiction.

                                       Conclusion

    Plaintiff therefore requests that proceedings on Defendant’s Motion to Dismiss

be stayed until the Court’s ruling on the motion to remand for lack of jurisdiction.

    Alternatively, if this motion is denied, Plaintiff requests one week to prepare

and submit its opposition.

                                        Respectfully submitted,


                                        SOUTHEAST LOUISIANA LEGAL
                                        SERVICES

                                        By:_____/s/ David Williams______
                                        David Williams, LSBA # 17867
                                        1340 Poydras St. Suite 600
                                        New Orleans, Louisiana 70112
                                        Telephone: (504) 529-1063
                                        dwilliams@slls.org

                                        Attorneys for Plaintiff




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